
648 S.E.2d 507 (2007)
Elsie M. LEE
v.
SPRING PINES HOMEOWNERS ASSOCIATION.
No. 176P07.
Supreme Court of North Carolina.
June 27, 2007.
Elsie M. Lee, pro se.
Christopher N. Heiskell, Margaret P. Eagles, for Homeowners Association.

ORDER
Upon consideration of the petition filed on the 12th day of April 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
